An official website of the United States government. Here's how you know. !
                                                                        Case 4:19-cv-00655-BSM Document 201-22 Filed 05/19/22 Page 1 of 2



                                                                                        Public Access To Court Electronic Records




                                                                                       Billing History
             BILLING HISTORY
                                                                                       Detailed Transaction Report by Date
                                                                                                       All
                                                                                        from 09/02/2020 to 11/01/2020

                                                                                                                      Plaintiff's Exhibit 17




                                                                                                Billing Transactions
               Date                    Time                    Pages                    Court                    Client Code        Description     Search           Cost
               09/04/2020
               09/04/2020              23:02:40                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               09/04/2020              23:03:16                               30        AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
               09/04/2020              23:04:04                                 6       AREDC                                       IMAGE5084-0     4:82-CV-00866-   $0.60
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    5084-0
               Subtotal:                                                      37        pages                                       $3.70
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $3.70
               09/06/2020


                                                                                       Billing History
               09/06/2020              10:21:46                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          655; CASE
                                                                                                                                                    YEAR 2019;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:19-CV-655;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               Subtotal:                                                           1    pages                                       $0.10
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $0.10
               09/07/2020
               09/07/2020              22:59:37                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               09/07/2020              23:00:04                               30        AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
               09/07/2020              23:32:36                                    1    AREDC                                       IMAGE5310-0     4:82-CV-00866-   $0.10
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    5310-0
               09/07/2020              23:35:03                               35        AREDC                                       TRANSCRIPT:5330-4:82-CV-00866-   $3.50
                                                                                                                                    0               DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    5330-0
               Subtotal:                                                      67        pages                                       $6.70
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $6.70
               09/08/2020
               09/08/2020              01:21:14                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               09/08/2020              01:21:48                               30        AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
               Subtotal:                                                       31       pages                                       $3.10
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $3.10
               09/11/2020
               09/11/2020              04:30:02                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               09/11/2020              04:30:53                               30        AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
               09/11/2020              04:37:28                                 3       AREDC                                       IMAGE3336-0     4:82-CV-00866-   $0.30
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3336-0
               09/11/2020              04:41:31                                 3       AREDC                                       IMAGE5306-0     4:82-CV-00866-   $0.30
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    5306-0
               09/11/2020              04:41:32                                 5       AREDC                                       IMAGE5306-1     4:82-CV-00866-   $0.50
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    5306-1
               09/11/2020              04:48:20                                    1    AREDC                                       IMAGE5310-0     4:82-CV-00866-   $0.10
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    5310-0
               09/11/2020              11:02:56                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          655; CASE
                                                                                                                                                    YEAR 2019;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:19-CV-655;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               09/11/2020              11:03:10                                 4       AREDC                                       DOCKET          4:19-CV-00655-   $0.40
                                                                                                                                    REPORT          BSM
               09/11/2020              11:03:30                                 2       AREDC                                       IMAGE36-0       4:19-CV-00655-   $0.20
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 36-
                                                                                                                                                    0
               09/11/2020              11:04:07                               30        AREDC                                       IMAGE36-1       4:19-CV-00655-   $3.00
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 36-
                                                                                                                                                    1
               09/11/2020              11:04:46                                18       AREDC                                       IMAGE36-2       4:19-CV-00655-   $1.80
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 36-
                                                                                                                                                    2
               09/11/2020              13:26:04                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               09/11/2020              13:26:33                               30        AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
               09/11/2020              13:29:56                               30        AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
               09/11/2020              13:30:43                                 8       AREDC                                       IMAGE3360-0     4:82-CV-00866-   $0.80
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3360-0
               09/11/2020              14:37:21                                 4       AREDC                                       DOCKET          4:19-CV-00655-   $0.40
                                                                                                                                    REPORT          BSM
               Subtotal:                                                      171       pages                                       $17.10
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $17.10
               09/14/2020
               09/14/2020              11:44:38                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          655; CASE
                                                                                                                                                    YEAR 2019;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:19-CV-655;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               09/14/2020              11:44:53                                 7       AREDC                                       DOCKET          4:19-CV-00655-   $0.70
                                                                                                                                    REPORT          BSM
               Subtotal:                                                        8       pages                                       $0.80
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $0.80
               09/26/2020
               09/26/2020              20:39:12                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          655; CASE
                                                                                                                                                    YEAR 2019;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:19-CV-655;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               09/26/2020              20:39:56                                 8       AREDC                                       DOCKET          4:19-CV-00655-   $0.80
                                                                                                                                    REPORT          BSM
               09/26/2020              20:40:28                                 3       AREDC                                       IMAGE46-0       4:19-CV-00655-   $0.30
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 46-
                                                                                                                                                    0
               09/26/2020              20:41:20                               30        AREDC                                       IMAGE46-1       4:19-CV-00655-   $3.00
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 46-
                                                                                                                                                    1
               09/26/2020              20:43:00                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          655; CASE
                                                                                                                                                    YEAR 2019;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:19-CV-655;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               09/26/2020              20:43:08                                 8       AREDC                                       DOCKET          4:19-CV-00655-   $0.80
                                                                                                                                    REPORT          BSM
               09/26/2020              20:43:37                               30        AREDC                                       IMAGE43-0       4:19-CV-00655-   $3.00
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 43-
                                                                                                                                                    0
               09/26/2020              20:44:22                                 2       AREDC                                       IMAGE47-0       4:19-CV-00655-   $0.20
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 47-
                                                                                                                                                    0
               09/26/2020              20:45:13                                17       AREDC                                       IMAGE48-0       4:19-CV-00655-   $1.70
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 48-
                                                                                                                                                    0
               09/26/2020              20:46:04                                 2       AREDC                                       IMAGE49-0       4:19-CV-00655-   $0.20
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 49-
                                                                                                                                                    0
               09/26/2020              20:53:28                                 8       AREDC                                       IMAGE49-1       4:19-CV-00655-   $0.80
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 49-
                                                                                                                                                    1
               Subtotal:                                                      110       pages                                       $11.00
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $11.00
               09/28/2020
               09/28/2020              10:55:16                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          655; CASE
                                                                                                                                                    YEAR 2019;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:19-CV-655;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               09/28/2020              10:55:35                                 8       AREDC                                       DOCKET          4:19-CV-00655-   $0.80
                                                                                                                                    REPORT          BSM
               09/28/2020              10:56:14                               30        AREDC                                       IMAGE46-1       4:19-CV-00655-   $3.00
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 46-
                                                                                                                                                    1
               09/28/2020              15:20:03                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          655; CASE
                                                                                                                                                    YEAR 2019;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:19-CV-655;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               09/28/2020              15:20:21                                 8       AREDC                                       DOCKET          4:19-CV-00655-   $0.80
                                                                                                                                    REPORT          BSM
               Subtotal:                                                      48        pages                                       $4.80
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $4.80
               09/29/2020
               09/29/2020              15:09:14                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          655; CASE
                                                                                                                                                    YEAR 2019;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:19-CV-655;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               09/29/2020              15:09:30                                 8       AREDC                                       DOCKET          4:19-CV-00655-   $0.80
                                                                                                                                    REPORT          BSM
               09/29/2020              15:09:59                                 8       AREDC                                       IMAGE49-1       4:19-CV-00655-   $0.80
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 49-
                                                                                                                                                    1
               09/29/2020              23:14:07                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          655; CASE
                                                                                                                                                    YEAR 2019;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:19-CV-655;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               09/29/2020              23:15:01                                 8       AREDC                                       DOCKET          4:19-CV-00655-   $0.80
                                                                                                                                    REPORT          BSM
               09/29/2020              23:15:46                                 9       AREDC                                       IMAGE10-0       4:19-CV-00655-   $0.90
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 10-
                                                                                                                                                    0
               Subtotal:                                                      35        pages                                       $3.50
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $3.50
               09/30/2020
               09/30/2020              10:55:09                                11       AREDC                                       IMAGE33-0       4:19-CV-00655-   $1.10
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 33-
                                                                                                                                                    0
               09/30/2020              15:16:19                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          655; CASE
                                                                                                                                                    YEAR 2019;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:19-CV-655;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               09/30/2020              15:16:48                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
               Subtotal:                                                       17       pages                                       $1.70
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $1.70
               10/01/2020
               10/01/2020              20:45:39                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
               10/01/2020              20:53:46                                19       AREDC                                       IMAGE40-25      4:19-CV-00655-   $1.90
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 40-
                                                                                                                                                    25
               10/01/2020              23:12:04                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
               10/01/2020              23:12:27                               29        AREDC                                       IMAGE27-1       4:19-CV-00655-   $2.90
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 27-
                                                                                                                                                    1
               10/01/2020              23:36:26                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               10/01/2020              23:37:12                               30        AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
               10/01/2020              23:42:37                                 3       AREDC                                       IMAGE3348-0     4:82-CV-00866-   $0.30
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3348-0
               10/01/2020              23:44:10                                 5       AREDC                                       IMAGE3340-0     4:82-CV-00866-   $0.50
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3340-0
               10/01/2020              23:53:19                                 8       AREDC                                       IMAGE3360-0     4:82-CV-00866-   $0.80
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3360-0
               Subtotal:                                                      105       pages                                       $10.50
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $10.50
               10/02/2020
               10/02/2020              13:32:30                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
               10/02/2020              13:33:20                               30        AREDC                                       IMAGE43-0       4:19-CV-00655-   $3.00
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 43-
                                                                                                                                                    0
               Subtotal:                                                      35        pages                                       $3.50
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $3.50
               10/05/2020
               10/05/2020              06:38:32                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
               10/05/2020              06:39:00                                 4       AREDC                                       IMAGE40-68      4:19-CV-00655-   $0.40
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 40-
                                                                                                                                                    68
               10/05/2020              07:19:54                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM STARTING
                                                                                                                                                    WITH
                                                                                                                                                    DOCUMENT: 40
                                                                                                                                                    ENDING WITH
                                                                                                                                                    DOCUMENT: 43
               10/05/2020              07:20:17                                 9       AREDC                                       IMAGE40-45      4:19-CV-00655-   $0.90
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 40-
                                                                                                                                                    45
               10/05/2020              09:26:10                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
               10/05/2020              09:29:12                                    1    AREDC                                       IMAGE41-0       4:19-CV-00655-   $0.10
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 41-
                                                                                                                                                    0
               10/05/2020              09:34:32                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
               10/05/2020              09:35:49                               30        AREDC                                       IMAGE43-0       4:19-CV-00655-   $3.00
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 43-
                                                                                                                                                    0
               10/05/2020              15:45:17                                5        AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
               10/05/2020              15:45:28                                 2       AREDC                                       IMAGE56-0       4:19-CV-00655-   $0.20
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 56-
                                                                                                                                                    0
               Subtotal:                                                      71        pages                                       $7.10
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $7.10
               10/08/2020
               10/08/2020              05:27:05                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
               10/08/2020              05:27:18                                6        AREDC                                       IMAGE29-0       4:19-CV-00655-   $0.60
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 29-
                                                                                                                                                    0
               10/08/2020              10:01:09                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
               10/08/2020              10:02:26                                18       AREDC                                       IMAGE42-0       4:19-CV-00655-   $1.80
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 42-
                                                                                                                                                    0
               10/08/2020              10:55:43                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               10/08/2020              10:56:21                               30        AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
               Subtotal:                                                      65        pages                                       $6.50
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $6.50
               10/09/2020
               10/09/2020              13:39:09                                 1       00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               10/09/2020              13:39:50                               30        AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
               10/09/2020              13:43:12                                3        AREDC                                       IMAGE5206-0     4:82-CV-00866-   $0.30
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    5206-0
               10/09/2020              13:43:13                                 1       AREDC                                       IMAGE5206-1     4:82-CV-00866-   $0.10
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    5206-1
               Subtotal:                                                      35        pages                                       $3.50
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $3.50
               10/10/2020
               10/10/2020              16:26:19                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
               10/10/2020              16:26:35                                 2       AREDC                                       IMAGE56-0       4:19-CV-00655-   $0.20
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 56-
                                                                                                                                                    0
               Subtotal:                                                        7       pages                                       $0.70
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $0.70

               10/11/2020
               10/11/2020              16:17:29                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               10/11/2020              16:21:59                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               10/11/2020              16:24:49                               30        AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
               10/11/2020              20:09:53                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
               10/11/2020              20:22:16                                 8       AREDC                                       DOCKET          4:19-CV-00655-   $0.80
                                                                                                                                    REPORT          BSM
               10/11/2020              20:26:46                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
               Subtotal:                                                      50        pages                                       $5.00
                                                                                0       audio files ($2.40 ea)                      $0.00
                                                                                                                                    $5.00

                10/12/2020
                10/12/2020             14:20:11                                    4    AREDC                                       IMAGE3327-0     4:82-CV-00866-   $0.40
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3327-0
                10/12/2020             14:36:12                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
                10/12/2020             14:37:18                                30       AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
                10/12/2020             14:39:32                                 6       AREDC                                       IMAGE3328-0     4:82-CV-00866-   $0.60
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3328-0
                10/12/2020             14:41:26                                    2    AREDC                                       IMAGE3333-0     4:82-CV-00866-   $0.20
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3333-0
                10/12/2020             14:44:36                                    4    AREDC                                       IMAGE3334-0     4:82-CV-00866-   $0.40
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3334-0
                10/12/2020             14:46:22                                    3    AREDC                                       IMAGE3335-0     4:82-CV-00866-   $0.30
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3335-0
                10/12/2020             14:48:53                                    3    AREDC                                       IMAGE3336-0     4:82-CV-00866-   $0.30
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3336-0
                10/12/2020             14:53:09                                    5    AREDC                                       IMAGE3340-0     4:82-CV-00866-   $0.50
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3340-0
                10/12/2020             14:54:55                                 5       AREDC                                       IMAGE3341-0     4:82-CV-00866-   $0.50
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3341-0
                10/12/2020             14:57:41                                    3    AREDC                                       IMAGE3348-0     4:82-CV-00866-   $0.30
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3348-0
                10/12/2020             14:59:43                                    3    AREDC                                       IMAGE3349-0     4:82-CV-00866-   $0.30
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3349-0
                10/12/2020             15:02:28                                 5       AREDC                                       IMAGE3350-0     4:82-CV-00866-   $0.50
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3350-0
                10/12/2020             15:06:31                                 8       AREDC                                       IMAGE3360-0     4:82-CV-00866-   $0.80
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    3360-0
                10/12/2020             18:28:28                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
                10/12/2020             18:29:29                               30        AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
                Subtotal:                                                     113       pages                                       $11.30
                                                                                0       audio files ($2.40 ea)                      $0.00
                                                                                                                                    $11.30
                10/14/2020
                10/14/2020             13:41:07                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
                10/14/2020             13:42:32                                30       AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
                10/14/2020             14:11:47                                    3    AREDC                                       IMAGE5253-0     4:82-CV-00866-   $0.30
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    5253-0
                10/14/2020             14:13:02                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
                10/14/2020             14:13:23                                30       AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
                10/14/2020             14:26:59                                30       AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
                10/14/2020             15:07:58                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
                10/14/2020             15:08:35                                30       AREDC                                       DOCKET          4:82-CV-00866-   $3.00
                                                                                                                                    REPORT          DPM
                10/14/2020             23:08:22                                    5    AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
                Subtotal:                                                     131       pages                                       $13.10
                                                                                0       audio files ($2.40 ea)                      $0.00
                                                                                                                                    $13.10
                10/16/2020
                10/16/2020             21:28:38                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
                10/16/2020             21:51:37                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
                10/16/2020             21:52:10                                30       AREDC                                       IMAGE28-0       4:19-CV-00655-   $3.00
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 28-
                                                                                                                                                    0
                Subtotal:                                                     40        pages                                       $4.00
                                                                                0       audio files ($2.40 ea)                      $0.00
                                                                                                                                    $4.00
                10/17/2020
                10/17/2020             00:02:26                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
                10/17/2020             00:03:57                               30        AREDC                                       IMAGE43-0       4:19-CV-00655-   $3.00
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 43-
                                                                                                                                                    0
                Subtotal:                                                      35       pages                                       $3.50
                                                                                0       audio files ($2.40 ea)                      $0.00
                                                                                                                                    $3.50
                10/18/2020
                10/18/2020             21:41:23                                 5       AREDC                                       DOCKET          4:19-CV-00655-   $0.50
                                                                                                                                    REPORT          BSM
                Subtotal:                                                       5       pages                                       $0.50
                                                                                0       audio files ($2.40 ea)                      $0.00
                                                                                                                                    $0.50
                10/19/2020
                10/19/2020             15:05:56                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
                10/19/2020             15:06:41                                15       AREDC                                       DOCKET          4:82-CV-00866-   $1.50
                                                                                                                                    REPORT          DPM START
                                                                                                                                                    DATE:
                                                                                                                                                    10/20/2019
                Subtotal:                                                      16       pages                                       $1.60
                                                                                0       audio files ($2.40 ea)                      $0.00
                                                                                                                                    $1.60
                10/20/2020
                10/20/2020             00:35:05                                 6       AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                    REPORT          BSM
                10/20/2020             00:35:24                                    2    AREDC                                       IMAGE61-0       4:19-CV-00655-   $0.20
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 61-
                                                                                                                                                    0
                10/20/2020             00:37:10                                 8       AREDC                                       IMAGE62-0       4:19-CV-00655-   $0.80
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 62-
                                                                                                                                                    0
                10/20/2020             21:00:19                                 6       AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                    REPORT
                                                                                                                                    REPORT          BSM
                                                                                                                                                    BSM
               10/20/2020              21:40:31                                 6       AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                    REPORT          BSM
               Subtotal:                                                      28        pages                                       $2.80
                                                                                0       audio files ($2.40 ea)                      $0.00
                                                                                                                                    $2.80
               10/21/2020
               10/21/2020              01:08:54                                 6       AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                    REPORT          BSM
               10/21/2020              01:10:19                               30        AREDC                                       IMAGE43-0       4:19-CV-00655-   $3.00
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 43-
                                                                                                                                                    0
               10/21/2020              01:10:48                                 6       AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                    REPORT          BSM
               10/21/2020              23:47:34                                 6       AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                    REPORT          BSM
               10/21/2020              23:48:00                                    1    AREDC                                       IMAGE40-69      4:19-CV-00655-   $0.10
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 40-
                                                                                                                                                    69

               Subtotal:                                                      49        pages                                       $4.90
                                                                                0       audio files ($2.40 ea)                      $0.00
                                                                                                                                    $4.90
               10/22/2020
               10/22/2020              10:12:29                                 6       AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                    REPORT          BSM
               10/22/2020              14:27:56                                 6       AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                    REPORT          BSM
               10/22/2020              14:28:24                                 8       AREDC                                       IMAGE74-0       4:19-CV-00655-   $0.80
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 74-
                                                                                                                                                    0
               10/22/2020              14:29:14                                 2       AREDC                                       IMAGE73-0       4:19-CV-00655-   $0.20
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 73-
                                                                                                                                                    0
               10/22/2020              14:29:14                                 2       AREDC                                       IMAGE73-1       4:19-CV-00655-   $0.20
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 73-
                                                                                                                                                    1
               10/22/2020              14:35:09                                 8       AREDC                                       IMAGE70-0       4:19-CV-00655-   $0.80
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 70-
                                                                                                                                                    0
               Subtotal:                                                       32       pages                                       $3.20
                                                                                0       audio files ($2.40 ea)                      $0.00
                                                                                                                                    $3.20
               10/23/2020
               10/23/2020              22:32:33                                 6       AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                    REPORT          BSM
               10/23/2020              22:34:25                                 8       AREDC                                       IMAGE70-0       4:19-CV-00655-   $0.80
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 70-
                                                                                                                                                    0
               10/23/2020              22:38:37                                 6       AREDC                                       DOCKET          4:19-CV-00655-   $0.60
                                                                                                                                    REPORT          BSM
               10/23/2020              22:38:51                                 9       AREDC                                       IMAGE66-0       4:19-CV-00655-   $0.90
                                                                                                                                                    BSM
                                                                                                                                                    DOCUMENT 66-
                                                                                                                                                    0
               10/23/2020              22:41:49                                    1    00PCL                                       ALL COURT       ALL COURTS;      $0.10
                                                                                                                                    TYPES CASE      CASE NUMBER
                                                                                                                                    SEARCH          866; CASE
                                                                                                                                                    YEAR 1982;
                                                                                                                                                    CASE NUMBER
                                                                                                                                                    4:82-CV-00866;
                                                                                                                                                    OFFICE 4; CASE
                                                                                                                                                    TYPE CV; PAGE:
                                                                                                                                                    1
               10/23/2020              22:42:14                                15       AREDC                                       DOCKET          4:82-CV-00866-   $1.50
                                                                                                                                    REPORT          DPM START
                                                                                                                                                    DATE:
                                                                                                                                                    10/24/2019
               10/23/2020              22:44:16                                 5       AREDC                                       IMAGE5658-0     4:82-CV-00866-   $0.50
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    5658-0
               10/23/2020              22:44:17                                12       AREDC                                       IMAGE5658-1     4:82-CV-00866-   $1.20
                                                                                                                                                    DPM
                                                                                                                                                    DOCUMENT
                                                                                                                                                    5658-1
               Subtotal:                                                      62        pages                                       $6.20
                                                                               0        audio files ($2.40 ea)                      $0.00
                                                                                                                                    $6.20
                                 10/26/2020
                                                                          Case 4:19-cv-00655-BSM Document 201-22 Filed 05/19/22 Page 2 of 2
                                 10/26/2020                   23:30:34           1   00PCL                                    ALL COURT       ALL COURTS;      $0.10
                                                                                                                              TYPES CASE      CASE NUMBER
                                                                                                                              SEARCH          655; CASE
                                                                                                                                              YEAR 2019;
                                                                                                                                              CASE NUMBER
                                                                                                                                              4:19-CV-655;
                                                                                                                                              OFFICE 4; CASE
                                                                                                                                              TYPE CV; PAGE:
                                                                                                                                              1
                                 10/26/2020                   23:31:09           6   AREDC                                    DOCKET          4:19-CV-00655-   $0.60
                                                                                                                              REPORT          BSM
                                 10/26/2020                   23:32:08          27   AREDC                                    IMAGE67-0       4:19-CV-00655-   $2.70
                                                                                                                                              BSM
                                                                                                                                              DOCUMENT 67-
                                                                                                                                              0
                                 Subtotal:                                     34    pages                                    $3.40
                                                                                 0   audio files ($2.40 ea)                   $0.00
                                                                                                                              $3.40
                                 10/27/2020
                                 10/27/2020                   01:04:14           1   00PCL                                    CIVIL PARTY     ALL COURTS;      $0.10
                                                                                                                              SEARCH          NAME
                                                                                                                                              D'ABADIE;
                                                                                                                                              JURISDICTION
                                                                                                                                              CV; ROLE PLA;
                                                                                                                                              ALL COURTS;
                                                                                                                                              PAGE: 1
                                 10/27/2020                   01:04:43           5   AREDC                                    DOCKET          4:18-CV-00356-   $0.50
                                                                                                                              REPORT          JM
                                 10/27/2020                   01:05:14           5   AREDC                                    IMAGE9-10       4:18-CV-00356-   $0.50
                                                                                                                                              JM DOCUMENT
                                                                                                                                              9-10
                                 10/27/2020                   01:05:50           9   AREDC                                    IMAGE9-9        4:18-CV-00356-   $0.90
                                                                                                                                              JM DOCUMENT
                                                                                                                                              9-9
                                 10/27/2020                   01:11:32           1   AREDC                                    IMAGE63-0       4:18-CV-00356-   $0.10
                                                                                                                                              JM DOCUMENT
                                                                                                                                              63-0
                                 10/27/2020                   01:12:36           5   AREDC                                    IMAGE32-0       4:18-CV-00356-   $0.50
                                                                                                                                              JM DOCUMENT
                                                                                                                                              32-0
                                 10/27/2020                   01:14:31           2   AREDC                                    IMAGE45-0       4:18-CV-00356-   $0.20
                                                                                                                                              JM DOCUMENT
                                                                                                                                              45-0
                                 10/27/2020                   01:16:37           1   AREDC                                    IMAGE54-0       4:18-CV-00356-   $0.10
                                                                                                                                              JM DOCUMENT
                                                                                                                                              54-0
                                 10/27/2020                   01:31:55           1   00PCL                                    ALL COURT       ALL COURTS;      $0.10
                                                                                                                              TYPES CASE      CASE NUMBER
                                                                                                                              SEARCH          655; CASE
                                                                                                                                              YEAR 2019;
                                                                                                                                              CASE NUMBER
                                                                                                                                              4:19-CV-655;
                                                                                                                                              OFFICE 4; CASE
                                                                                                                                              TYPE CV; PAGE:
                                                                                                                                              1
                                 10/27/2020                   01:32:37           9   AREDC                                    DOCKET          4:19-CV-00655-   $0.90
                                                                                                                              REPORT          BSM
                                 Subtotal:                                     39    pages                                    $3.90
                                                                                 0   audio files ($2.40 ea)                   $0.00
                                                                                                                              $3.90
                                 10/30/2020
                                 10/30/2020                   12:32:38           7   AREDC                                    DOCKET          4:19-CV-00655-   $0.70
                                                                                                                              REPORT          BSM
                                 10/30/2020                   12:33:23           1   AREDC                                    IMAGE82-0       4:19-CV-00655-   $0.10
                                                                                                                                              BSM
                                                                                                                                              DOCUMENT 82-
                                                                                                                                              0
                                 10/30/2020                   12:34:00           2   AREDC                                    IMAGE81-0       4:19-CV-00655-   $0.20
                                                                                                                                              BSM
                                                                                                                                              DOCUMENT 81-
                                                                                                                                              0
                                 10/30/2020                   12:36:59           9   AREDC                                    DOCKET          4:19-CV-00655-   $0.90
                                                                                                                              REPORT          BSM
                                 10/30/2020                   12:37:59           1   AREDC                                    IMAGE40-76      4:19-CV-00655-   $0.10
                                                                                                                                              BSM
                                                                                                                                              DOCUMENT 40-
                                                                                                                                              76
                                 10/30/2020                   12:40:13           7   AREDC                                    DOCKET          4:19-CV-00655-   $0.70
                                                                                                                              REPORT          BSM
                                 10/30/2020                   12:41:16           4   AREDC                                    IMAGE40-68      4:19-CV-00655-   $0.40
                                                                                                                                              BSM
                                                                                                                                              DOCUMENT 40-
                                                                                                                                              68
                                 10/30/2020                   13:56:13         30    AREDC                                    DOCKET          4:82-CV-00866-   $3.00
                                                                                                                              REPORT          DPM
                                 10/30/2020                   13:57:17           2   AREDC                                    IMAGE5721-0     4:82-CV-00866-   $0.20
                                                                                                                                              DPM
                                                                                                                                              DOCUMENT
                                                                                                                                              5721-0
                                 10/30/2020                   13:57:18           7   AREDC                                    IMAGE5721-1     4:82-CV-00866-   $0.70
                                                                                                                                              DPM
                                                                                                                                              DOCUMENT
                                                                                                                                              5721-1
                                 10/30/2020                   13:57:18           5   AREDC                                    IMAGE5721-2     4:82-CV-00866-   $0.50
                                                                                                                                              DPM
                                                                                                                                              DOCUMENT
                                                                                                                                              5721-2
                                 Subtotal:                                     75    pages                                    $7.50
                                                                                 0   audio files ($2.40 ea)                   $0.00
                                                                                                                              $7.50
                                 Grand Total:                                1552    pages                                    $155.20
                                                                                 0   audio files ($2.40 ea)                   $0.00

                                                                                                                              $155.20




PACER FAQ                                                                                    Privacy & Security                                                                     Contact Us

            This site is maintained by the Administrative Office of the                                                                                                PACER Service Center
            U.S. Courts on behalf of the Federal Judiciary.                                                                                                            (800) 676-6856
                                                                                                                                                                       pacer@psc.uscourts.gov
